1. The fact that seven of the ten militia districts of the county had previously adopted the stock law did not make it unlawful for the ordinary, on petition duly filed, to call a county-wide election for the purpose of submitting to the voters the question whether the county as a whole would adopt such law.
2. Persons residing in those districts which had previously adopted the stock law by district elections were entitled to participate in such county-wide election, on equality with other voters of the county, and were not disqualified merely because of their residence in such districts.
3. An order of the ordinary which recited the number of votes cast for fence and for no fence in each of the militia districts, and showed thereby that of all of the votes cast a majority were in favor of the stock law, and which then declared that the "stock law" had received a majority, was not inadmissible in evidence as a proclamation of the result in favor of the law, merely because it may have contained a further statement to the effect that such law would go into effect on a stated date in the future. Even if the superadded statement or conclusion was void for lack of jurisdiction in the ordinary to make it, it did not vitiate the other portions of the order as a declaration of the result based on the election returns. Nor, under the ruling made in the preceding note, was the order inadmissible because it appeared therefrom that the voters of militia districts which had already adopted the stock law were allowed to vote in such county-wide election.
4. According to the pleadings and the evidence, if all of the persons whose votes were rejected by the election managers had been permitted to vote, and had voted against the stock law, the number of lawful votes so rejected would not have been sufficient to change the result.
5. In the instant suit by citizens and taxpayers of White County to enjoin other citizens of the same county from allowing their live stock to go at large and trespass upon the plaintiffs' land and crops, in which suit the plaintiffs alleged among other things that in a county-wide election *Page 159 
held more than six months previously on the issue of fence or no fence for the county as a whole, the election resulted in favor of the stock law and was so declared by the ordinary, the petition stated a cause of action, and there was no merit in any of the grounds of demurrer taken by the defendant, unless in the one special ground which was sustained by the trial judge.
(a) The cross-action filed by the defendants did not set forth any valid defense, and was properly stricken on general demurrer.
(b) The judge did not err in granting an interlocutory injunction as prayed by the plaintiffs.
                      No. 13368. NOVEMBER 14, 1940.
On February 16, 1940, A. G. Mickel and six others, as citizens, taxpayers, and freeholders of White County, Georgia, filed a suit in the superior court of that county against O. H. Kimzey and twenty-three others, residents of the same county, praying for injunction to restrain the defendants from allowing their live stock to run at large and trespass upon the lands of the plaintiffs, to the damage of such lands and the crops thereon. The petition as amended alleged the following: On the first Wednesday in July, 1939, in pursuance of an election called by the ordinary on a proper petition, a county-wide stock law election was held such county, submitting to the voters, in the manner provided by law, the question of "fence" or "no fence" for the entire county, and that a majority of those voting in such election voted for "no fence." The ballots were counted and returns were made to the ordinary according to law, and the ordinary then canvassed the returns and declared the result, to the effect that a majority of the voters voting at said election had voted in favor of "no fence." As result of such election, the stock law became effective throughout the limits of White County and in every militia district thereof, six months after the date of such election, which was held on July 5, 1939. "Since the stock law went into effect some of the defendants, Mrs. J. J. Fain, C. M. Cathey and Harvey Adams have allowed their live stock, such as hogs and cows, to run at large and go upon the lands of A. G. Mickel, W. H. Clark and W. I. Stovall and injure and damage said crops growing thereon and all of said defendants contend that Chattahoochee, Tesnatee and Nacoochee Districts are open range and that they have heretofore allowed their stock to go at large in said districts and if they are not restrained from so *Page 160 
doing they intend to further continue to allow their live stock to run at large and run upon the lands of petitioners without regard to whether said lands are in cultivation or whether crops are growing thereon, even though the lands of petitioners are located within White County and in a stock law area and said defendants have conspired together to ignore the provisions of stock law, although it became effective in said county as a whole as a result of an election on that question as herein shown, yet said defendants banded themselves together and employed counsel for the purpose of securing an adjudication at the hands of this court, holding said election null and void and have agreed among themselves to allow their live stock to run at large without regard to the injury and damage resulting therefrom to the lands and crops of petitioners." "Petitioners aver that some of the defendants have allowed their live stock to run at large and enter upon the gardens and cultivated lands of some of petitioners and that the damages caused thereby are difficult to estimate and the fact that all of the defendants contend that they have a right to allow their live stock to run at large presents a difficulty that can not be remedied by the ordinary processes of law, and unless a court of equity intervenes and assumes jurisdiction numerous suits will have to be filed and petitioners can only impound the animals of the defendants as they enter upon their premises . . in order to avoid a multiplicity of suits and to afford adequate protection to petitioners it is necessary that a court of equity intervene, assume jurisdiction and enjoin the trespasses actually committed and those now threatened to be committed." "Petitioners further aver that they have a common interest to protect in procuring the enforcement of the stock law in said county and a failure to have the stock law enforced in the county as a whole will subject the lands of petitioners located in Chattahoochee, Tesnatee and Nacoochee Districts to great damage, and their crops now growing on these lands in said districts will be injured and damaged and a common right violated, for the protection of which under the facts herein alleged they have no complete and adequate remedy at law." The petition contained still other allegations, which it is unnecessary to set forth in this statement.
The defendants answered, admitting some of the allegations of the petition and denying others. They made affirmative allegations by way of cross-action, and prayed for an injunction to restrain the *Page 161 
plaintiffs from seizing or from in any way interfering with the defendants' live stock, and for a decree declaring the election null and void, especially as to Nacoochee, Tesnatee, and Chattahoochee Districts. They contended that the election was void for several reasons set forth in their answer and cross-action, and that the plaintiffs thus were not entitled to the relief sought, because the election, being void, did not have the effect of putting the stock law in force in White County.
The defendants demurred on the grounds, among others, that the petition states no cause of action; that it shows on its face that the plaintiffs have a complete and adequate remedy at law as against each defendant; that it is multifarious, and contains a misjoinder of parties defendant; that some of the allegations are too vague and indefinite, and that others are mere conclusions of the pleader.
The plaintiffs demurred generally to the allegations in the cross-action on which the defendants based their contention that the election was void.
Upon interlocutory hearing the judge overruled all grounds of the defendants' demurrer, except one special ground, and sustained the plaintiffs' demurrer to the cross-action. After hearing evidence consisting in part of an agreed statement, he granted an interlocutory injunction as prayed by the plaintiffs. To each of these rulings the defendants excepted.
The defendants alleged in their cross-action, that White County was composed of ten militia districts, and that in seven of these districts, that is in all of them except Nacoochee, Tesnatee and Chattahoochee Districts, the stock law had been in force as result of district elections for more than five years; and that the election of July 5, 1939, was illegal and void, because the voters in the seven districts which already had the stock law were permitted to vote with the other voters of the county on the issue whether White County as a whole should adopt the stock law. The answer also alleged that the ordinary was not authorized in such case to order a county-wide election.
The answer further alleged that the election of July 5, 1939, was illegal and void, for the reason that eight named qualified voters of the Tesnatee District were denied the right to vote in such election; that these eight voters would have voted against the stock *Page 162 
law or no-fence law, and if they had been permitted to vote, the result of the election would have been changed.
The answer further alleged that twenty-six named voters "were left off the registration list in Chattahoochee District, although said voters had paid their tax, had registered and were eligible to vote and desired to vote in said election, but were denied the right to vote. . . That said qualified voters had they been allowed to vote would have voted against `stock law' or `no-fence law,' which said votes would have changed the result of said election as declared by the ordinary as aforesaid." Similar allegations were made with reference to twenty-one named voters in Nacoochee District. The answer also alleged that according to the result as declared by the ordinary, "`stock law' or `no-fence law' was carried by the majority of twenty-eight (28) votes."
On the trial the plaintiffs introduced a stipulation to the effect that before the election here in question the stock law had, as alleged by the defendants, been in force in the seven districts of White County as result of district elections, that the voters in these seven districts were permitted to vote in the county-wide election of July 5, 1939, that more than half of the registered qualified voters of White County resided in these districts, and that in this election more than half of the total votes cast for stock law were cast in these districts. The plaintiffs introduced in evidence an order signed by the ordinary dated July 6, 1939, declaring the result of such election. In this order the votes cast for and against the stock law in each district were set forth, and from the total vote thus shown it appeared that a majority of twenty-eight votes were cast for the stock law. After this enumeration by districts, the order declared: "For stock law having received a majority, it is therefore considered, ordered, and adjudged by the undersigned ordinary that stock law, or no-fence law, is the law of said County of White, to go into effect, county wide, as the law directs, on the 15th day of December, 1939." The defendants moved to exclude this order from evidence, on the grounds, that it appeared on its face to be void, for the reason that the ordinary had no jurisdiction to declare that the stock law or no-fence law was the law of White County, to go into effect "on the 15th day of December, 1939," and that it showed that the voters of the seven districts which already had adopted the stock law, "were allowed to participate in this election," *Page 163 
the same being a second election on the stock law in such districts. The court allowed the order in evidence for the purpose of showing consolidation of the vote, stating, however, that the part which undertook to put the stock law into execution within less than six months was a nullity. To this ruling the defendants excepted.
Various witnesses were introduced by the plaintiffs, and testified to trespasses by live stock of the defendants as alleged in the petition. The defendants introduced eighteen witnesses, each of whom testified as follows: "On July 5th, 1939, I was a resident, and a duly registered and qualified voter of the Chattahoochee District, White County, Georgia, and on said date, at the regular voting place in said county, I presented myself and offered to vote and requested the right to cast my ballot, but the managers of said election failed and refused to let me cast my vote. Had I been permitted to vote I would have voted against stock law or no-fence law." Fifteen other witnesses were sworn by the defendant, each testifying as follows: "On July 5th, 1939, I was a resident and duly registered and qualified voter of Nacoochee District of White County, Georgia. On said date at the regular voting place in said county, I presented myself and offered to vote and requested the right to cast my ballot, but the managers of said election failed and refused to accept my ballot or to permit me to vote and I was denied the right to vote. Had I been permitted to vote, I would have cast my ballot against stock law or no-fence law."
A comparison of the names of those who testified that they were denied the right to vote, thirty-three in all, shows that nineteen of these were persons whose names were alleged in the answer and cross-action to have been "left off" the registration list; and that fourteen of them were persons whose names were not in any manner mentioned in the defendant's pleadings, so far as may be ascertained by an examination of the bill of exceptions and the record.
In the bill of exceptions the order granting an interlocutory injunction as prayed by the plaintiffs was assigned as error, as being contrary to law and to the evidence in the case.
In the brief of counsel for the plaintiffs in error, *Page 164 
defendants in the court below, it is stated that there are four primary questions for determination. We shall deal with these questions, so far as necessary, in the order in which they are stated in the brief. The first question is whether the ordinary of White County had authority to call a county-wide election, when seven of the ten militia districts had already adopted the no-fence or stock law by district elections. We answer this question in the affirmative. The Code, § 62-501, provides that on prescribed conditions as to petition of freeholders the ordinary of any county shall "proceed to have an election held in such county on the first Wednesday in July following, in which the question shall be submitted to the lawful voters of said county." The section further provides: "Said election to be held at the court-house or ground in each militia district and under the same rules and regulations as provided for election of members of the General Assembly, and after 30 days notice posted at the most public places in said county. No person shall be allowed to vote at said election except in the militia district in which he resides: Provided, that such election shall not be held oftener than once in any year. The returns of said election shall be made to the ordinary, who after examining the same and deciding upon all questions which may arise out of said election, shall proclaim the result by notice as aforesaid. If the lawful majority in said election is for `no fence,' then said provisions shall take effect in such county within six months thereafter." Section 62-502 provides for district elections. There is nothing in either section, nor in any other statute, from which it may be concluded that the law as to calling and holding a county-wide election shall cease to be operative in any county, because the no-fence or stock law may have been adopted in one or more of the districts of such county. Nothing to the contrary was held inNewton v. Ferrill, 98 Ga. 216 (25 S.E. 422). In that case it appeared that after the no-fence law had been adopted in Chatham County as a whole, a petition was presented to the ordinary by freeholders of one of the militia districts for an election on the same question in that district. The ordinary declined to entertain the petition, and a suit for the writ of mandamus followed. It was held by this court that after the establishment of the stock law in a given county or militia district, "the law does not contemplate a restoration of the pre-existing status as to fences by the holding of further elections." *Page 165 
The present county-wide election, if carried into effect, would not restore the pre-existing status as to fences in any district of the county, but would simply put the stock law into operation throughout the entire county, whereas before the election it was already in force by separate units in seven of the ten militia districts. The decision in the Newton case does not support the contention that after the adoption of such law in one or any number of the militia districts, the ordinary would not be authorized to cause an election on the question of fence or no fence for the entire county. While it is not material in the present case, it may be noticed in this connection that the law as declared in that decision was later changed by statute. See Ga. L. 1905, p. 132, Code, § 62-505.
2. Nor is there any merit in the second contention, namely, that even if the ordinary did have such authority, the voters of the seven militia districts which had previously adopted the stock law by district elections would not be entitled to vote in such county-wide election. The Code, § 62-517, relating to district elections, provides that "Nothing herein contained shall prevent any district which has adopted this law from voting at any county election on the stock law." Since there was no statute prohibiting the voters in such district from voting in a county-wide election, it would seem that they would have been entitled to vote in such election, even without this proviso. However that may be, we are satisfied from the entire law upon the subject that it was the intention of the General Assembly to permit all of the qualified voters to have a voice in such county-wide issue. So the election was not void because voters of the seven existing stock-law districts were allowed to vote in this election, in which the question of fence or no fence for the county as a whole was submitted to the voters for determination.
3. The next question as stated by counsel is whether the ordinary had authority to declare the "no-fence or stock law" to be the law in White County, or did his authority extend merely to declaring the result of the election? This question is raised both by averments in the cross-action, considered with the demurrer thereto, and by objection to evidence. It will be sufficient in this connection to refer only to the question as presented by the latter method, since the ruling that we are about to make will apply both *Page 166 
to the pleadings and the evidence; not as to the precise question, however, decision thereon, as will be seen, not being required by the record.
The plaintiffs introduced in evidence an order signed by the ordinary, dated July 6, 1939, declaring the result of such election. Preceding the formal statement of the result was a list of the various districts, ten in all, with a statement of the number of votes cast for and against the stock law in each of the districts. From the total vote thus shown, it appeared that a majority of twenty-eight votes was cast for the stock law. After this enumeration, the order declared: "For stock law having received a majority, it is therefore considered, ordered, and adjudged by the undersigned ordinary that stock law, or no-fence law, is the law of said County of White to go into effect, county-wide, as the law directs, on the 15th day of December, 1939."
The judge did not err in admitting this order in evidence, as against the contention that the ordinary had no authority to declare the stock law to be effective in White County. The order was admissible as a proclamation of the result; and even if the ordinary exceeded his authority in going further, the superadded declaration was separable and did not vitiate the whole. As to sufficiency of the order as a proclamation of result, compareChamlee v. Davis, 115 Ga. 266 (41 S.E. 691).
It is argued in the brief that this order was invalid for the further reason that it nowhere recites that the ordinary proclaimed the result "by notice as aforesaid," in compliance with the Code, § 62-501. No such objection was made to the evidence, and this contention can not be considered. But it might be said, in this connection, that in the absence of anything to the contrary it will be presumed that the ordinary gave such notice of the result as the law may have required. The order here under consideration, so far as it relates to how the majority voted, does not fall within the rulings in Johnson v. Tanner,126 Ga. 718 (6) (56 S.E. 80), and Beaver v. Lowe,145 Ga. 52 (4) (88 S.E. 573). These decisions dealt with the question of construction of fences around militia districts after district elections in favor of the stock law; and it was held that the ordinary had no authority or jurisdiction to pass any order declaring that such condition precedent as to construction of fences had been complied with. These decisions were based *Page 167 
upon what is now section 62-502 of the Code, a careful examination of which will show that the present question is entirely different and must depend on some other law. It is controlled by section 62-501, supra, relating in part to numerical result as shown by the returns.
4. The next question as stated in the brief is whether the defendants had "the right to attack the validity of said election in this action." In the view which we take of the case as a whole, we do not deem it necessary to make a ruling upon this question; for, even assuming that the defendants were entitled to show as a matter of defense that the election was absolutely void, we are of the opinion that it did not appear to be void from anything alleged in the plaintiffs' petition, and that the attacks made on it by the defendants were insufficient. We will now examine these attacks as they were made in the answer and cross-action. The defendants alleged that the election was void for the reason that eight named qualified voters of the Tesnatee District were denied the right to vote in such election, that these eight voters would have voted against the stock law, and that if they had been permitted to vote the result of the election would have been different. These allegations do not show that the election was void, since it elsewhere appeared in the answer that according to the result as declared by the ordinary the election was in favor of the stock law by a majority of twenty-eight votes. Manifestly it would not have changed the result if only the eight voters of the Tesnatee district had been permitted to vote and had voted against the no-fence law.
The answer next alleged that twenty-six named voters of Chattahoochee District were "left off" the registration list, although they were otherwise qualified, and that if they had been permitted to vote, the result would have been different. Similar allegations were made with reference to twenty-one voters who resided in the Nacoochee District. These averments, as to the voters of both districts, were utterly nugatory as showing or tending to show that the election was invalid. This is true for the reason that these persons were not entitled to vote if their names did not appear upon the registration list, and in the circumstances the election managers properly rejected the votes tendered by them. Code, §§ 34-404, 62-501; Chapman v. SumnerConsolidated School District, 152 Ga. 450 (2) (109 S.E. 129);Goolsby v. Stephens, *Page 168 155 Ga. 529 (2, 3) (117 S.E. 439); Fairburn School District
v. McLarin, 166 Ga. 867 (144 S.E. 765); Briscoe v.Between Consolidated School District, 171 Ga. 820
(156 S.E. 654); Turk v. Royal, 34 Ga. App. 717 (8) (131 S.E. 119).
We have now, in this and the preceding divisions, dealt with all the attacks made upon this election, except the contention based on the evidence that thirty-three persons who applied to vote were not permitted to do so, and that if they had been allowed to vote they would have cast their ballots against the stock law, and the result of the election would have been different. A comparison of the names of those who testified
that they were denied the right to vote shows that nineteen of them were persons whose names were alleged in the cross-action to have been "left off" the registration list. Although these averments were stricken on demurrer and were not formally introduced in evidence, the judge, trying the case on interlocutory hearing, could consider them as evidence against the defendants on the issue as to the right of such persons to vote in this election. Code, § 38-402; Fite v. Black,92 Ga. 363 (17 S.E. 349); Lydia Pinkham Medicine Co. v.Gibbs, 108 Ga. 138 (33 S.E. 945); Cooley v. Abbey,111 Ga. 439 (3), 443 (36 S.E. 786); Williams v. Fouche,164 Ga. 311 (138 S.E.) Daniels v. B , 23 Ga. App. 644 (4) (99 S.E. 228). If, as the judge was thus authorized to find, these nineteen persons were not entitled to vote, the fact that they were denied the privilege of so doing did not tend to show that the election was invalid; and this is true whether the names of these persons are considered by themselves or in connection with the names of others whose votes were rejected by the election managers.
It further appeared from the evidence that fourteen of the persons who testified that they would have voted against the stock law if they had been permitted to vote were not in any manner mentioned in the defendants' pleadings, so far as we are able to discern from the bill of exceptions and the record. Whether or not the lack of any pleadings as to the names of these persons should be considered as sufficient reason for disregarding the evidence, and even to give full force and weight to such evidence (but see Edenfield v. Smith, 36 Ga. App. 682
(2), 137 S.E. 841; Southern Crushed Stone  Granite Co. v.Dorn, 37 Ga. App. 564, 141 S.E. 59), the votes of these fourteen persons could not have changed the *Page 169 
result. Nor would the result have been changed by the addition of these names to the names of the eight voters first mentioned in this division, since the total thus arrived at would have been only twenty-two, whereas, according to the result as consolidated by the ordinary, the election resulted in favor of stock law by a majority of twenty-eight votes. Accordingly, in no view of the case was it shown that the election was void on the ground that the managers rejected a sufficient number of legal votes to have changed the result.
5. There are several subordinate questions, among them, whether the petition was multifarious and contained a misjoinder of parties defendant. "Where there is one common right to be established by or against several, and one is asserting the right against many, or many against one, equity will determine the whole matter in one action." Code, § 37-1007. Under this principle, the petition was maintainable for the purpose of avoiding a multiplicity of actions, was not multifarious, and did not contain a misjoinder of parties defendant; nor was it subject to demurrer on the ground that the plaintiffs had an adequate remedy at law. See Sanders v. Gainesville, 141 Ga. 441 (3) (81 S.E. 215); City of Camilla v. Cochran, 160 Ga. 424
(128 S.E. 194); Dobbs v. Federal Deposit InsuranceCorporation, 187 Ga. 569 (1 S.E.2d 672); Benton v.Turk, 188 Ga. 710 (7) (4 S.E.2d 580).
There was no merit in any of the grounds of demurrer taken by the defendants, unless in the one special ground which was sustained by the judge. The cross-action did not set forth any valid defense, and was properly stricken on the general demurrer of the plaintiffs. Nor did the judge err in granting an interlocutory injunction as prayed by the plaintiffs.
Judgment affirmed. All the Justices concur.